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AO 442 (Rev. 11111) Arrest Warrant



                                              UNITED STATES DISTRICT COURT
                                                                            for the

                                                                 District    of Columbia


                      United States of America
                                                                              )   Case: 1:23-mj-0051
                                   v.
                                                                              )   Assigned To: Magistrate Judge G. Michael Harvey
                           Michael      Mackrell                              )   Assign. Date: 3/6/2023
                                                                              )   Description: Complaint with Arrest Warrant
                                                                              )
                                                                              )
                                Defendant


                                                              ARREST WARRANT
To:       Any authorized law enforcement            officer


          YOU ARE COMMANDED                     to arrest and bring before a United States magistrate judge without unnecessary                             delay

(name of person to be arrested) Mic""bLl.la""eo<.ll-'M.>:.I.u.......,.~.....__                                                                                      _
who is accused of an offense or violation based on the following document                     filed with the court:

o     Indictment            o    Superseding    Indictment         o   Information          o   Superseding   Information                 N.    Complaint

o     Probation Violation Petition              o   Supervised   Release Violation Petition            o Violation     Notice             0 Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 111(a)(I) - Forcibly Assault, Resist, Oppose, Impede, Intimidate,                    or Interfere with Certain Officers or Employees

18 U.S.C. §§ 17S2(a)(I), (2), and (4) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority with Intent to Impede or Disrupt the Orderly Conduct of Government Business or Official Functions

18 U.S.C. § 231(a)(3) - Obstruction            of Law Enforcement      During Civil Disorder

40 U.S.C. § SI04(e)(2)(F)          - Violent Entry and Disorderly      Conduct on Capitol Grounds
                                                                                        G.Michael                  Dlgllally signed by G. Michael
                                                                                                                   Harvey
                                                                                        Harvey                     Date: 2023.03.06 11 :29:22 .{)S'OO'

Date: __        "'-'3/~6/'-"'2""'02...,3<--
                               __
                                                                                                        Issuing officer's signature

                                                                                                 G. Michael Harvey, U.S Magistrate Judge
City and state:                      Washington,    D.C.
                                                                                                          Printed name and title


                                                                            Return

          This warrant was received on (date)           'b/{bIC>oa-.?::>          , and   the person was arrested on (date)              3/ q~'?;,
at (city and state)    u...)U\~-\0C) 0t\                               .
Date:     619/dcri-?2
                                                                                                          Printed name and title
